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                                                                                   2017 Jun-07 PM 04:12
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA



                     IN THE UNITED STATES DISTRICT ~Q\J~T".
                   FOR THE NORTHERN DISTRICT OF AI~,A$AMA
                               EASTERN DIVISION
                                                                           3= 38
                                                           lun     -1
DEMARGIONA SMITH,                               )

                                                )

        Plaintiff,                              )

                                                )

vs. 	                                           )     CIVIL ACTION NO:
                                                )     CV-17
COOSA VALLEY MEDICAL 	                          )     JURY DEMAND
CENTER,                                         )
                                                1: 17 -cv-00958-VEH 

        Defendant. 



                                 COMPLAINT 

I.      JURISDICTION

        1.      The jurisdiction ofthis Court is invoked pursuant to the Act ofCongress

known as 28 U.S.C. §§ 1331,1334(4),2201 and 2202, 42 U.S.C. §2000e et seq. This

suit is authorized and instituted pursuant to Title VII of the Act of Congress known

as the "Civil Rights Act of 1964," as amended, 42 U.S.C. §2000e et seq., the "Civil

Rights Act of 1991" and 42 U.S.C. § 1981. The jurisdiction of this Court is invoked

to secure protection of and redress deprivation of rights secured by 42 U .S.C. §2000

et seq. providing for injunctive and other relief against race and retaliation in

employment.

        2.      The plaintiff timely filed her charge 	of race discrimination with the
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Equal Employment Opportunity Commission (EEOC) within 180 days after the last

act ofdiscriminatory treatment. The plaintifffurther filed her race suit within 90 days

after receipt of her right-to-sue letter issued frOITI the EEOC.

       3.      Plaintiff claims under § 1981 are being filed within two years of the

retaliatory treatment, i.e., termination.

II.    PARTIES

       4.      Plaintiff, Demargiona Snlith, is an African-American citizen of the

United States and a resident of the State of Alabama. At all tinles relevant to this

lawsuit, the plaintiff was employed by the defendant at its Sylacauga, Alabama

location.

       5.      Defendant, Coosa Valley Medical Center (hereinafter "CYMC" or

"Defendant"), is an entity subject to suit under Title VII of the Act of Congress

known as the "Civil Rights Act of 1964," as anlended, by the "Civil Rights Act of

1991," 42 U.S.C. §2000e et seq. and 42 U.S.C. § 1981.

III.   CAUSE OF ACTION

       A.      RACE DISCRIMINATION

       6.      The plaintiff re-alleges and incorporates by reference paragraphs 1-5

with the same force and effect as if fully set out in specific detail hereinbelow.

       7.      The plaintiff was hired by the Defendant on October 21, 2013 as a


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Certified Nursing Assistant.

       8.       At all times while the plaintiff was employed with the Defendant, she

performed her job duties and responsibilities in a satisfactory manner.

       9.       On June 23,2016, Director ofNursing, Emily Horton, asked the plaintiff

to change the color of her hair to her natural color or wear another wig as she (the

plaintiff) was being "standoutish." At the time of Ms. Horton's request, the plaintiff

had been wearing her hair in this same lnanner and nobody had said anything to the

plaintiff.

       10.      The plaintiff asked what she needed to do as her natural hair color was

that color and she could not change it due to a serious allergic reaction to the

chelnicals in hair dye. The plaintiff was told to either cover it up, change it or be

terminated.

       11.      A Caucasian co-worker at the Transitional Care Unit had the saIne color

of hair as the plaintiff (red) and she was not asked to change the color of her hair.

       12.      On August 11, 2016, the plainti ff was sent home without pay for

allegedly time and attendance issues. The plaintiff contacted Christy Knowles,

Human Resources, about her suspension. However, the plaintiff did not receive a

response.

       13.      The plainti ff returned to work on August 22, 2016, and was terminated


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for allegedly being absent five times from January through August 2016. However,

the plaintiff denies this alleged reason for her termination.

         14.   Amy Steltenpohl, Caucasian, missed far more days of work than the

plaintiff did and was not terminated.

         15.   The plaintiffhas been discriminated against because ofher race, African-

American in discipline, suspension and tem1ination.

         16.   The reasons given for the plaintiffs discipline and subsequent

termination were a pretext for race discrimination.

         17.   The defendant has no legitimate non-discriminatory reason is for its

conduct.

         18.   Because ofsuch conduct, plaintiffhas suffered severe emotional distress,

errlbarrassment and humiliation.

         19.   The defendant's actions were wilful, with malice and with reckless

disregard for plaintiff s rights.

         20.   The plaintiff seeks to redress the wrongs alleged herein and this suit for

injunctive and declaratory judglnent is her only means of securing adequate relief.

The plaintiff is now suffering and will continue to suffer irreparable injury from the

defendant's unlawful policies and practices as set forth herein unless enjoined by this

Court.


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       B.       RETALIATION

       21.      The plaintiff re-alleges and incorporates by reference paragraphs 1-20

with the same force and effect as if fully set out in specific detail hereinbelow.

       22.      The plaintiff engaged in protected activity by complaining about said

discriminatory treatment and contesting said discriminatory conduct.

       23.      Similarly situated employees were not treated in the same manner as the

plaintiff.

       24.      The plaintiff was subjected to unequal treatment by the defendant in

retaliation for opposing unlawfully employment practices in her discipline,

suspension and termination.

       25.      The defendant has no legitimate non-discriminatory reason is for its

conduct.

       26.      Because ofsuch conduct, plaintiffhas suffered severe emotional distress,

embarrassment and hunliliation.

       27.      The defendant's actions were wilful, with malice and with reckless

disregard for plaintiff s rights.

       28.      The plaintiff seeks to redress the wrongs alleged herein and this suit for

injunctive and declaratory judgment is her only means of securing adequate relief.

The plaintiff is now suffering and will continue to sutler irreparable injury from the


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defendant's unlawful policies and practices as set forth herein unless enjoined by this

Court.

IV.      PRAYER FOR RELIEF

         WHEREFORE, the plaintiff respectfully prays that this Court assume

jurisdiction of this action and after trial:

          1.      Issue a declaratory judgment that the elnployment policies, practices,

procedures, conditions and customs of the defendant are violative of the rights of the

plaintiff as secured by Title VII of the Act of Congress known as the "Civil Rights

Act of 1964," as amended, by the "Civil Rights Act of 1991," 42 U.S.C. §2000e et

seq. and 42 U.S.C. § 1981.

         2.       Grant plaintiff a permanent injunction enjoining the defendant, its

agents, successors, employees, attorneys and those acting In concert with the

defendant and at the defendant's request from continuing to violate Title VII of the

Act of Congress known as the "Civil Rights Act of 1964," as amended by the "Civil

Rights Act of 1991," 42 U.S.C. §2000e et seq. and 42 U.S.C. § 1981 through U.S.C.

§ 1983.

         3.       Enter an order requiring the defendant to make the plaintiff whole by

awarding her the position she would have occupied prior to her racially retaliatory

termination, back-pay (plus interest), front-pay, punitive damages, compensatory


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damages, nominal damages, declaratory relief, injunctive relief, and benefits.

      4.      The plaintiff further prays for such other relief and benefits as the cause

ofjustice n1ay require, including but not limited to, an award of costs, attorney's fees

and expenses.

                                                ectfully submitted,


                                         Greo          iggins
                                         Counsel for the Plaintiff

OF COUNSEL:

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Binninghaln, Alabama 35203
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                    PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY



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DEFENDANT'S ADDRESS:
      Serve Via Certified Mail:
Coosa Valley Medical Center
209 W. Spring Street
Sylacauga, Alabama 35 150


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